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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 RONALD WILLIAMS
                                                      CIVIL ACTION
       Plaintiff,

 v.                                                   COMPLAINT 1:17-cv-06994

 MEDICREDIT, INC.
                                                      JURY TRIAL DEMANDED
       Defendant.

                                          COMPLAINT

          NOW COMES RONALD WILLIAMS (“Plaintiff”), by and through his attorneys,

Sulaiman Law Group, Ltd., complaining of the Defendant, Medicredit, Inc. (“Defendant,” or

“MCI”) as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action seeking redress for violations of the Fair Debt Collection

Practices Act (“FDCPA”) pursuant to 15 U.S.C. §1692 and violations of the Illinois Consumer

Fraud and Deceptive Practices Act (“ICFA”) pursuant to 815 ILCS 505/1 et seq.

                                    JURISDICTION AND VENUE

      2. Subject matter jurisdiction is conferred upon this Court by the FDCPA and 28 U.S.C.

§§1331 and 1337, as the action arises under the laws of the United States.

      3. The Court has supplemental jurisdiction over the state law ICFA claim under 28 U.S.C.

§1367.

      4. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Northern District of Illinois and all of the events or omissions giving rise to the claims

occurred within the Northern District of Illinois.


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                                                    PARTIES

    5. Plaintiff is a consumer and natural person over 18-years-of-age who, at all times relevant,

resided in the Northern District of Illinois.

    6. Defendant MCI is a Missouri corporation with its principal place of business located at

One Park Plaza, Nashville, Tennessee 37203. Defendant’s registered agent in Illinois is C T

Corporation System located at 208 South LaSalle Street, Suite 814, Chicago, Illinois 60604.

Defendant is engaged in the business of collecting or attempting to collect, directly or indirectly,

defaulted debts owed or due or asserted to be owed or due to others using the mail and telephone,

including consumers in the State of Illinois.

                                    FACTS SUPPORTING CAUSE OF ACTION

    7. Prior to the events that give rise to this cause of action, Plaintiff received treatment at

Loyola Medical Center (“Loyola”) and incurred debt (“subject debt”) as a result.

    8. Plaintiff subsequently defaulted on the subject debt.

    9. Plaintiff never provided his cellular telephone number to MCI or otherwise expressly

consented to MCI’s phone calls.1

    10. On or about August 25, 2017, Plaintiff answered a phone call placed by MCI. During this

call, a representative of MCI introduced herself as a representative of Loyola, rather than properly

identifying herself as an MCI agent, seeking to update Plaintiff’s file. The MCI agent requested

that Plaintiff provide his name, address, and Social Security number.

    11. Believing that MCI’s representative was actually a Loyola agent because of her assertion,

Plaintiff provided his personal and private information.



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  Upon information and belief, MCI obtained Plaintiff’s cellular telephone number from a credit report in which MCI
accessed through a method known as “skip-tracing,” whereby debt collectors obtain phone numbers by conducting
inquiries upon consumer credit reports or other public record searches.

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   12. Only after Plaintiff provided his Social Security number did the MCI agent reveal her true

identity as an MCI agent.

   13. Upset by MCI’s blatant lie in order to gain such sensitive information, Plaintiff contacted

Loyola to ascertain the reason as to MCI’s call.

   14. The Loyola representative with whom Plaintiff spoke insisted that Loyola makes no such

outgoing calls to patients in order to obtain Social Security numbers.

   15. The true reason for MCI’s call was to pose as Loyola in order to facilitate collection of the

subject debt.

   16. MCI intentionally harassed and abused Plaintiff into providing sensitive information with

the intent to collect upon the subject debt.

   17. Moreover, MCI failed to send Plaintiff the required validation notice within 5 days of its

initial communication to Plaintiff pursuant to §1692g informing Plaintiff of his right to dispute the

validity of the subject debt.

   18. Concerned about the violations of his rights and invasion of his privacy, Plaintiff was

forced to seek the assistance of counsel to file this action to compel MCI to cease its unlawful

conduct, thus incurring costs and expenses.

             COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   19. Plaintiff restates and realleges paragraphs 1 through 18 as though fully set forth herein.

   20. Plaintiff is a “consumer” as defined by FDCPA §1692a(3).

   21. Upon information and belief, the alleged debt that MCI was attempting to collect arose

primarily for family, personal or household purposes, and thus is an alleged “consumer debt” as

defined by FDCPA §1692a(5).




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   22. MCI is a “debt collector” as defined by §1692a(6) because it regularly collects debts and

uses the mail and/or the telephones to collect delinquent consumer accounts.

   23. MCI’s telephone communication to Plaintiff was made in connection with a collection of

an alleged debt.

   24. MCI used telephones to attempt to collect the subject debt and, as such, engaged in

“communications” as defined in FDCPA §1692a(2).

   25. MCI violated 15 U.S.C. §§1692d, e, e(10), e(11), e(14), f, g, g(a)(1), g(a)(2), g(a)(3),

g(a)(4), and g(a)(5) through its unlawful collection practices.

       a. Violations of FDCPA §1692d

   26. MCI violated §1692d by engaging in abusive, harassing, and oppressive conduct by calling

Plaintiff’s cellular phone seeking to gather Plaintiff’s sensitive and private information through

blatant lies. MCI’s abusive tactics caused Plaintiff to divulge his Social Security number which he

would not have provided had MCI revealed its true identity.

       b. Violations of FDCPA §1692e

   27. MCI violated §1692e when it falsely and deceptively misrepresented its true identity in

order to collect the subject debt. Plaintiff gave the requested information to MCI after MCI lied

about its identity, believing MCI to be Loyola.

   28. MCI violated §1692e(10) when it falsely and deceptively lied about its true identity to

secure Plaintiff’s personal information including, but not limited to, his Social Security number.

   29. MCI violated §1692e(11) by failing to disclose its identity as a “debt collector” as required

by the FDCPA in the phone call it placed to Plaintiff’s cellular phone prior to lying about its

identity in order to coerce Plaintiff into providing his Social Security number.




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   30. MCI violated §1692e(14) when it falsely stated its name as Loyola in order to gain private

information about Plaintiff

       c. Violation of FDCPA §1692f

   31. Defendant violated §1692f in that Defendant used unfair and unconscionable means to

collect the alleged debt by calling Plaintiff’s cellular phone attempting to dragoon Plaintiff into

paying a debt through deceptive practices.

       d. Violation of FDCPA §1692g

   32. MCI violated §1692g by failing to send Plaintiff the required 30-day validation notice

within 5 days of its initial communication informing Plaintiff of 1.) g(a)(1) the amount of the debt,

2.) g(a)(2) the name of the creditor to whom the debt is owed, 3.) g(a)(3) Plaintiff’s right to dispute

the debt within 30 days, 4.) g(a)(4) Plaintiff’s right to have verification of the debt or a judgment

mailed to him, and 5.) g(a)(5) Plaintiff’s right to have the name and address of the original creditor

mailed to him if different from the original creditor.

   33. Upon information and belief, MCI systematically attempts to collect alleged debts through

harassing conduct and has no procedures in place to assure compliance with the FDCPA.

   34. As stated above, Plaintiff was severely harmed by Defendant’s conduct.

WHEREFORE, Plaintiff RONALD WILLIAMS requests that this Honorable Court:

   a. Declare that the practices complained of herein are unlawful and violate the
       aforementioned statute;
   b. Award Plaintiff statutory and actual damages, in an amount to be determined at trial, for
       the underlying FDCPA violations;
   c. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C. §1692k;
       and
   d. Award any other relief as this Honorable Court deems just and appropriate.




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                 COUNT II – VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD ACT

   35. Plaintiff restates and reallages paragraphs 1 through 18 as through fully set forth herein.

   36. The Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA”) states:

                “Unfair methods of competition and unfair or deceptive acts or practices,
                including but not limited to the use or employment of any deception, fraud,
                false pretense, false promise, misrepresentation or the concealment,
                suppression or omission of any material fact, with intent that others rely
                upon the concealment, suppression or omission of such material fact . . .
                in the conduct of any trade or commerce are hereby declared unlawful
                whether any person has in fact been misled, deceived or damaged
                thereby.” 815 ILCS 505/2.

   37. Plaintiff is a “person” and a “consumer” as defined in ICFA, 815 ILCS 505/(c) and (e)

respectively.

   38. MCI’s collection efforts towards Plaintiff are “trade” and “commerce” as defined by 815

ILCS 505/1(f) of the ICFA.

   39. MCI is engaged in commerce in the State of Illinois with regard to Plaintiff and the subject

debt. Defendant specializes in debt collection, which is an activity within the stream of commerce

and utilized in its regular course of business.

   40. Defendant violated 815 ILCS 505/2 by engaging in an unfair and deceptive act or practice

in contacting Plaintiff. It was unfair for Defendant to mislead Plaintiff into believing that it was

truly Loyola that was calling him in order to coerce Plaintiff into divulging his private and sensitive

personal information.

       a. Unfairness and Deception

   41. It was unfair and deceptive for Defendant to seek to collect an alleged debt from Plaintiff

through unconscionable lies attempting to induce him into providing his Social Security number

among other private information.




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    42. It was unfair for MCI to openly deceive Plaintiff into providing personal information by

concealing its true identity.

    43. It was unfair and deceptive for MCI to fail to disclose its identity as a debt collector during

the phone call in which Plaintiff answered.

    44. It was unfair and deceptive for MCI to call Plaintiff’s cellular phone without substantiating

the true reason it was calling Plaintiff.

    45. Defendant’s unfair conduct is inherently oppressive as Plaintiff had no choice but to submit

to the harassing phone call to his cellular phone.

    46. Moreover, MCI’s unfair conduct is against public policy because it needlessly subjects

consumers to unsolicited calls, resulting in a significant harm in the form of invasion of privacy

and nuisance.

    47. Upon information and belief, MCI systematically places unsolicited and harassing phone

calls to consumers in Illinois in order to aggressively collect alleged debts in default or assumed

to be in default to increase its profitability at the consumers’ expense.

    48. Upon information and belief, placing unsolicited and harassing phone calls to Illinois

consumers is an unfair business practice willfully employed by Defendant and is done on a large

scale.

    49. Moreover, MCI’s conduct in concealing its true identity in order to gain private information

is harmful to Illinois consumers as a whole.

    50. Additionally, MCI’s unlawful and unfair debt collection efforts gives it an unfair

competitive advantage over businesses that collect debts lawfully (companies who legally collect

debts, as authorized, and who lawfully provide their true identity during debt collection practices).

    51. As alleged above, Plaintiff was substantially harmed by MCI’s misconduct.



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   52. An award of punitive damages is appropriate because MCI’s conduct described above was

outrageous, willful and wanton, showed a reckless disregard for the rights of Plaintiff and

consumers, generally, and Plaintiff had no choice but to submit to MCI’s deception.

WHEREFORE, Plaintiff RONALD WILLIAMS requests that this Honorable Court:

   a. Enter judgment in Plaintiff’s favor and against Defendant;
   b. Award Plaintiff his actual damages in an amount to be determined at trial;
   c. Award Plaintiff his punitive damages in an amount to be determined at trial;
   d. Award Plaintiff his reasonable attorney’s fees and costs pursuant to 815 ILCS 505/10a(c);
       and
   e. Award any other relief this Honorable Court deems equitable and just.



   Plaintiff demands trial by jury.

 Dated: September 28, 2017                          Respectfully Submitted,

/s/ Marwan R. Daher                                 /s/ Omar T. Sulaiman
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